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                                  UNITED STATES DISTRICT COURT                                 JS-6
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 15-4113-PSG (JEMx)                                         Date
                   CV 15-4440-PSG (JEMx)
                   CV 15-4573-PSG (JEMx)
                   CV 15-4759-PSG (JEMx)
                   CV 15-4989-PSG (JEMx)
                   CV 15-5118-PSG (JEMx)
                   CV 15-7051-PSG (JEMx)                                                November 9, 2015
 Title             Stace Cheverez v. Plains All American Pipeline, L.P.
                   Savvy of Boulder LLC v. Plains All American Pipeline, L.P.
                   Mark Hicks v. Plains All American Pipeline, LP et al
                   Alexandra B. Geremia v. Plains All American Pipeline, L.P. et al
                   Keith Andrews et al v. Plains All American Pipeline, LP et al
                   Isla Vista Surfing Lessons v. Plains All American Pipeline, , L.P.
                   Richard Lilygren v. Plains All American Pipeline, L.P. et al




 Present: The Honorable           PHILIP S. GUTIERREZ
                      Wendy Hernandez                                        Marea Woolrich
                         Deputy Clerk                                         Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
    Julu Farris, Robert Nelson, Matthew Preusch,                    William Warne, John Zavitsanos,
     William Audet, Leila Noel, Barry Cappello,
                     Brett Boon
 Proceedings:             STATUS CONFERENCE FOR THIS ACTION AND ALL RELATED ACTIONS

The Court advances the hearing on Plaintiff's Unopposed Motion for Consolidation and Appointment of
Interim Co-Lead Class Counsel (#33) to November 9.

Having read and considered Plaintiff’s Unopposed Motion and the oral argument presented today, the
Court grants the Motion and administratively closes the following related cases: CV 15-4573-PSG,
CV 15-4759-PSG, CV 15-4989-PSG, CV 15-5118-PSG and CV 15-7051-PSG. Counsel shall file all
future pleadings in lead case CV15-4113-PSG.

Regarding CV 15-4440-PSG, the Court sets an OSC Hearing Re: Dismissal for December 14, 2015 at
2:30pm. If a dismissal is filed, then no appearance will be necessary.

Regarding lead case CV 15-4113-PSG, the Court sets a Scheduling Conference for December 14, 2015
at 2:30pm. Counsel shall file a Joint 26(f) Report, along with a proposed case management order, by
close of business December 7, 2015.

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                                UNITED STATES DISTRICT COURT
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                                      CIVIL MINUTES - GENERAL
 Case No.       CV 15-4113-PSG (JEMx)                                              Date
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                Richard Lilygren v. Plains All American Pipeline, L.P. et al

Regarding the three motions parties intend to file: Defendants’ Motion to Stay and Motion to Dismiss,
along with other motions, the Court sets the following briefing schedule.

 All Motions to be filed by:                                            12/16/15
 All Oppositions to be filed by:                                        01/20/16
 All Replies to be filed by:                                            02/03/16
 Hearing on all three Motions (1:30pm)                                  02/29/16




                                                                                                  :     40

                                                            Initials of Preparer      wh




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